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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

MARIA STRAWDER and
GILBERT STRAWDER,

        Plaintiffs,

vs.                                                  CASE NO.:

ATS PROPERTY MANAGEMENT, LLC,
a Florida Limited Liability Company,

      Defendant.
_______________________________________/

                                           COMPLAINT

        Plaintiffs, MARIA STRAWDER and GILBERT STRAWDER, by and through their

undersigned counsel, and sues the Defendant, ATS PROPERTY MANAGEMENT, LLC, a Florida

Limited Liability Company and alleges as follows:

                                     JURISDICTION AND VENUE

        1.     Jurisdiction of this Court is invoked pursuant to the Fair Labor Standards Act of 1938,

as amended, 29 U.S.C. § 201, et seq.

        2.     Venue lies within United States District Court for the Middle District of Florida, Tampa

Division because a substantial part of the events giving rise to this claim occurred in this Judicial

District and is therefore proper pursuant to 28 U.S.C. 1391(b).

                                             PARTIES

        3.     Plaintiffs, MARIA STRAWDER and GILBERT STRAWDER, are residents of Citrus

County, Florida at all times material and worked for Defendant in this Juridical District during the

applicable statute of limitations.

        4.     Defendant, ATS PROPERTY MANAGEMENT, LLC, is a Florida Limited Liability
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Company authorized and doing business in this Judicial District.

           5.    Defendant is an enterprise engaged in commerce as defined by 29 U.S.C. §

203(s)(l)(A).

           6.    Plaintiffs are employees of Defendant pursuant to 29 U.S.C. § 203(e)(l), Defendant is

Plaintiffs’ employer within the meaning of 29 U.S.C. § 203(d), and Defendant employs Plaintiffs

within the meaning of 29 U.S.C. § 203(g).

                                      FACTUAL ALLEGATIONS

           7.    Plaintiffs, MARIA STRAWDER and GILBERT STRAWDER, have been employed

as non-exempt employees with Defendant from approximately September 7, 2018 to present.

           8.    Plaintiffs routinely work in excess of 40 hours per work week for which they have not

compensated by Defendant at a rate of time and one half their regular hourly rates.

                                              COUNT I
                                 (Fair Labor Standard Act - Overtime)

           9.    Plaintiffs realleges paragraphs one (1) through eight (8) as though set forth fully herein.

           10.   The employment of Plaintiffs provide for a forty (40) hour work week but throughout

their respective employment, Plaintiffs were required to work and did work a substantial number of

hours in excess of forty (40) hours per work week.

           11.   At all times material, Defendant has failed to comply with 29 U.S.C. § 201 et seq., in

that Plaintiffs have worked for Defendant in excess of the maximum hours provided by law, but no

provision was made by Defendant to compensate Plaintiffs at the rate of time and one-half their regular

rates of pay for the hours worked over forty (40) in a work week.

           12.   Defendant’s failure to pay Plaintiffs the required overtime pay is intentional and

willful.

           13.   As a direct and legal consequence of Defendant’s unlawful acts, Plaintiffs have
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suffered damages and have incurred, or will incur, costs and attorneys' fees in the prosecution of this

matter.

          WHEREFORE, Plaintiffs, MARIA STRAWDER and GILBERT STRAWDER, respectfully

request all legal and equitable relief allowed by law including judgment against Defendant, ATS

PROPERTY MANAGEMENT, LLC, for overtime compensation, liquidated damages, prejudgment

interest; payment of reasonable attorneys' fees and costs incurred in the prosecution of this claim and

equitable relief declaring and mandating the cessation of Defendant’s unlawful pay policy and such

other relief as the court may deem just and proper.

                                     DEMAND FOR JURY TRIAL

          14.   Plaintiffs request a jury trial on all issues so triable.

 Dated this 13th day of February, 2020.


                                                   FLORIN, GRAY, BOUZAS, OWENS, LLC

                                                   /s/ Miguel Bouzas
                                                   MIGUEL BOUZAS, ESQUIRE
                                                   Florida Bar No.: 48943
                                                   miguel@fgbolaw.com
                                                   Secondary: gina@fgbolaw.com
                                                   WOLFGANG M. FLORIN, ESQUIRE
                                                   Florida Bar No.: 907804
                                                   wolfgang@fgbolaw.com
                                                   16524 Pointe Village Drive, Suite 100
                                                   Lutz, FL 33558
                                                   Telephone (727) 254-5255
                                                   Facsimile (727) 483-7942

                                                   Attorneys for Plaintiffs
